                         UNITED STATES BANKRUPTCY COURT
                            WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

In Re:                                       §
                                             §              Case No. 19-10368-tmd
ANDREW KEVIN VAUGHAN,                        §
                                             §              Chapter 7
         Debtor.                             §

 ORDER GRANTING RETENTION OF BK GLOBAL REAL ESTATE SERVICES TO
PROCURE CONSENTED PUBLIC SALE PURSUANT TO 11 U.S.C. §§ 327(a) AND 328

         ON THIS DAY, the Court considered the Application For Retention of BK Global Real

Estate Services to Procure Consented Public Sale Pursuant to 11 U.S.C. §§ 327(a) and 328

[Dkt. No. __] (the “Application”), and the Court, being of the opinion that the Application is well

taken, will hereby approve same. The Court, having jurisdiction herein, finds as follows:

         1.    This case was filed on March 25, 2019.

         2.    One asset of the bankruptcy estate is an interest in the real property (the “Real

Property”) located at 105 Cottonwood Dr., Hutto, Texas 78653.

         3.    Debtor has not claimed the Property as exempt [see Schedules, Dkt. No. 1].




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        4.      The Property is subject to the following mortgage and lien:

                    a. First Mortgage Holder: Planet Home Lending, LLC, $156,145.00

                    b. Mechanic’s Lien: Tabatha Smith, $9,071.78

        5.      Based on the circumstances, the value of Debtor’s interest in the Real Property is

not sufficiently in excess of the amount owed to Planet Home Lending, LLC to sell for an

amount that would satisfy the secured claim of Planet Home Lending, LLC.

        6.      The Trustee filed the Application on August 8, 2019, together with a Notice to

Creditors, including Debtor’s former spouse Candice Vaughan, each containing 21-day negative

notice language.

        7.      Notice of the Application was due, proper and sufficient, and no further or

additional notice is necessary or required.

        8.      The proposed retention of BK Global Real Estate Services is in the best interests

of the bankruptcy estate, the creditors, and all parties-in-interest.

        The Court, having reviewed the file herein and being fully advised, finds that good cause

exists to grant the Application and for entry of this Order.

        IT IS, THEREFORE, ORDERED, that the employment of BK Global Real Estate

Services, be, and it is hereby, approved as laid forth in the Application, and,

        IT IS, FURTHERMORE, ORDERED, that compensation will be paid upon application

to this Court only after notice and hearing, pursuant to 11 U.S.C. §330 and the requirements of

any other applicable law.

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Order Prepared by Counsel for Ch. 7 Trustee

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